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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

X
TRACY ELLIS,
Civil Action No.
Plaintiff,
-against- COMPLAINT
Plaintiff Demands
WELLS FARGO BANK, NATIONAL ASSOCIATION; a Trial by Jury
WELLS FARGO CORPORATION; and
JOSEPH MACKIE, individually
Defendants.
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Plaintiff, TRACY ELLIS, as and for her Cornplaint against Defendants respectfully alleges upon
information and belief as follows:
NATURE OF THE CASE
1. Plaintiff complains pursuant to the Americans With Disabilities Act of 1990, 42 U.S.C. §
12101 et. seq. (“ADA”), the Family and Medical Leave Act of 1993, 29 U.S.C. § 2601 et
seq. (“FMLA”), the Pennsylvania Human Relations Act, as amended, 43 P.S. § 951, et.
seq. (“PHRA”), and the Philadelphia Fair Practices Ordinance, § 9-1100 et. seq.
(“PFPO”), and seeks damages to redress the injuries Plaintiff has suffered as a result of
being discriminated against on the basis of her disabilities, discriminated against on
account of her association with her disabled son, and retaliated against by her employer

for reporting such discrimination and for exercising her rights to leave under the FMLA.

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JURISDICTION AND VENUE
. Jurisdiction of this action is conferred upon this court as this action involves a Federal
Question under the Arnericans with Disabilities Act of 1990 and the Family and Medical
Leave Act of 1993. The Court also has supplemental jurisdiction over the State and City
Causes of Action.
. Venue is proper in this district based upon Defendants’ place of business within the
County of Philadelphia, in the Commonwealth of Pennsylvania, within the Eastern
District of Pennsylvania. Additionally, the events at issue took place within the County of
Philadelphia, in the Commonwealth of Pennsylvania within the Eastern District of
Pennsylvania.
. On or around June 7, 2016, Plaintiff TRACY ELLIS filed charges with the Equal
Employment Opportunity Commission (“EEOC”) and the Pennsylvania Human Relations
Commission (“PHRC”) against Defendants as set forth herein.
. On or around January 27, 2017, the EEOC issued Plaintiff a Right to Sue Letter.
. This action is being commenced within ninety (90) days of Plaintiff’ s receipt of the
EEOC Right to Sue Letter.

PARTIES
. At all times material, Plaintiff TRACY ELLIS (hereinafter “Plaintiff’ or “ELLIS”) was
and is an individual female who did and continues to reside in the County of Delaware,
within the Commonwealth of Pennsylvania.
. At all times material, Defendant WELLS FARGO BANK, NATIONAL ASSOCIATION
was and is a foreign business corporation authorized to do business in the

Commonwealth of Pennsylvania.

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At all times material, Defendant WELLS FARGO CORPORATION was and is a foreign
business corporation authorized to do business in the Commonwealth of Pennsylvania.
At all times material, Defendants WELLS FARGO BANK, NATIONAL
ASSOCIATION and WELLS FARGO CORPORATION operated and continue to
operate a banking branch office located at 2005 Market Street, Suite 150, Philadelphia,
PA 19103 (hereinafter “the Market Street branch”).

At all times material, Defendants WELLS FARGO BANK, NATIONAL
ASSOCIATION and WELLS FARGO CORPORATION (hereinafter collectively
“Defendants”) jointly employed Plaintiff at the Market Street branch.

At all times material, Plaintiff was employed as a Personal Banker II with Defendants.

. At all times material, Defendant JOSEPH MACKIE (hereinafter “MACKIE” or

“Defendant MACKIE”) was employed by Defendants at the Market Street Branch.

At all times material, Defendant MACKIE was employed as a Branch Manager of the

Market Street branch.

At all times material, Defendant MACKIE had direct supervisory authority over Plaintiff.
MATERIAL FACTS

On or around December l7, 2013, Defendants hired Plaintiff as a Personal Banker II.

In or around December 2014, Plaintiff applied for and received intermittent FMLA leave

to care for her son’s disabilities as necessary.

In or around July 2015 , Defendant MACKIE became the Branch Manager for

Defendants’ Market Street branch.

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On or around July 23, 2015 , Plaintiff ELLIS was hit by a car while crossing a street, and
consequently suffered physical injuries, including but not limited to severe injuries to her
left leg and ankle.

As Plaintiff’s injuries substantially affected her ability to perform major life activities
such as walking, standing, and sitting, Plaintiff consequently suffered from temporary
disabilities.

Accordingly, Plaintiff was unable to work from approximately July 23, 2015 , to August
l7, 2015, and was placed on Short-Term Disability (“STD”) leave by Defendants.
Plaintiff also applied for and received intermittent FMLA leave following this accident,
which allowed Plaintiff to work a limited schedule for part of the workday and have the
rest of the day considered as FMLA leave (once Plaintiff returned from her STD leave).
Plaintiff was approved for intermittent FMLA leave for her own disabilities from
approximately July through December of 2015,

When Plaintiff was able to return to work, Plaintiff’s physician restricted her to working
no more than 4 to 5 hours per day and from performing certain job duties, including but
not limited to sitting or standing for prolonged periods of time. Plaintiff’s physician also
required Plaintiff to keep her left foot elevated whenever possible.

On or around August 19, 2015, just two (2) days after she was cleared to return to work,
Plaintiff was absent from work for a scheduled doctor’s appointment.

Upon Plaintiff’s return to work on or around August 20, Defendant MACKIE accused
Plaintiff of “not being focused on her [Plaintiff’ s] work” and of knowing that she
(Plaintiff) would not be working on August 19 because she had not scheduled any

appointments for that day.

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Additionally, MACKIE berated Plaintiff for not being able to stay at work beyond the
required approximate four (4) hours Plaintiff’s doctor had recommended because of her
disability. At the time, Plaintiff was on her own intermittent leave pursuant to FMLA.
Defendant MACKIE then placed Plaintiff on a Performance Improvement Plan (“PIP”),
despite Plaintiff having been off work for the month immediately prior.

Around the same time, Plaintiff also informed MACKIE of her disabilities and related
work restrictions, such as needing to keep her foot elevated and working a limited
schedule.

Despite Plaintiff’S attempt to engage in the interactive process regarding her disabilities,
MACKIE ignored Plaintiff’s attempts to contact him and refused to acknowledge her
attempts.

On or around August 21, 2015, during a Branch Meeting for the Market Street branch,
Defendant MACKIE informed Defendants’ employees that the Market Street branch
employees’ job duties would be assigned to specific employees going forward.
Defendant MACKIE further stated that Plaintiff would handle all Business Customers,
Plaintiff’s co-worker Shakeia Nelson (“NELSON”) would handle all Investment
Customers, and Plaintiff’s co-worker Jason Hewitt (“HEWITT”) would handle all the
“Wells at Work” customers.

Despite Defendant MACKIE’s statement, Defendant MACKIE deliberately directed
Defendants’ Business Customers to NELSON instead of Plaintiff, thereby preventing
Plaintiff from meeting her required quotas and goals (including, but not limited to

opening new credit accounts, meeting with customers, and processing loans).

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On or around August 28, 2015, Defendant MACKIE informed Plaintiff that Plaintiff
needed to arrive at work by 8:15 AM. However, Defendant MACKIE did not require
any of Plaintiff’s co-workers to arrive at 8:15 AM.

On or around September 23, 2015 , Defendants issued Plaintiff an informal warning
stating that Plaintiff did not properly dispose of customer information.

On information and belief, Plaintiff consistently properly disposed of customer
information

On or around September 28, 2015 , Plaintiff formally reported in writing to Defendants’
Human Resources department that she was being discriminated against and retaliated
against on account of her disabilities and usage of FMLA leave.

On information and belief, Defendants failed to meaningfully investigate Plaintiff’ s
complaint

On or around October 9, 2015 , a mere eleven (l l) days after reporting the discrimination
and retaliation occurring at the Market Street branch, Defendants issued Plaintiff a “Final
Notice of Workplace Conduct” alleging that Plaintiff had been rude to a customer who
had called the Market Street branch on or around October 7, and that the customer had
reached out to Defendant MACKIE to complain about Plaintiff.

Despite the “Final” title of the notice, Plaintiff had not received any prior warnings or
counseling alleging that she had been rude to a client.

In fact, on or around the preceding Tuesday (approximately October 7) upon seeing the
email from MACKIE about the supposed “customer complaint” that the notice referenced,
Plaintiff immediately spoke with the customer who had supposedly complained about

Plaintiff. During this conversation, the customer stated to Plaintiff in words or

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substance that Defendant MACKIE had been the one to reach out to the customer in the
first place, that Defendant MACKIE had manipulated her statements, and that she had not,
in fact, complained about Plaintiff`. When Plaintiff addressed this issue with Defendant
MACKIE, he admitted that he had lied about the customer calling to complain about
Plaintiff.

Following her receipt of the “Final Notice”, Plaintiff immediately reported Defendant
MACKIE’s dishonest and retaliatory behavior to Human Resources, and explicitly stated
that she was being retaliated against for her earlier complaint.

Once again, Respondents took no meaningful actions to investigate Plaintiff"s report.

On or around February 23, 2016, Defendant MACKIE sent a text message to Defendants’
Teller Service Manager Beverly Miller (“MILLER”) stating in words or substance that he
wanted MILLER to document everything that Plaintiff did at work and to email him if
She did anything out of compliance

Defendant MACKIE did not ask MILLER to monitor any of Plaintiff’ s co-workers
during this time who had not taken disability or FMLA leave.

On or around February 28, 2016, Plaintiff filed an additional report with Human
Resources regarding Defendants’ continued acts of retaliation against her.

Once again, Defendants failed to take any meaningful action to address or rectify
Plaintiff’ s complaint.

On or around February 29, 2016, only one (l) day after filing her additional complaint
with Human Resources, Defendant MACKIE met with Plaintiff and stated to her in

words or substance that he would “continue to document [Plaintiff] until he [MACKIE]

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gets her out”; that “[Plaintiff’ s] time and attendance were an issue”; that “FMLA won’t
help [Plaintiff]” and that “[Plaintiff] can call HR [and] they won’t do anything.”

During that same conversation, Defendant MACKIE stated to Plaintiff that he was
removing Plaintiff’s responsibilities as the Market Street branch’s Business Specialist.
Immediately following this conversation, Plaintiff once again reported Defendant
MACKIE’s retaliatory conduct to Human Resources.

Once again, Defendants failed to take any meaningful action to rectify the situation.

On or around March 14, 2016, Defendant MACKIE canceled one of Plaintiff’s scheduled
paid time off`. According to Plaintiff" s co-worker, MACKIE did so because he “didn’t
approve it.”

Defendant MACKIE regularly denied Plaintiff" s requests to utilize Paid Time Off
(“PTO”) in retaliation for Plaintiff’ s utilization of her approved intermittent leave under
FMLA. Defendant MACKIE also denied Plaintiff the use of her intermittent leave
under FMLA on March 30, 2016.

On or around March 23, 2016, Respondents’ Human Resources department finally
contacted Plaintiff about her numerous reports regarding the discrimination and
retaliation that Plaintiff had suffered. When Eddie Andrews (“ANDREWS”) (one of
Respondents’ Human Resources Consultants) emailed Plaintiff, he stated that there was
no record of Plaintiff" s initial complaint, despite the fact that the complaint had been
properly filed with the Human Resources department

On or around April 12, 2016, Plaintiff contacted ANDREWS to inform him that

Defendant MACKIE was continuing to retaliate against her as a result of her complaints.

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ln response, ANDREWS sent Plaintiff a dismissive and condescending email that advised
Plaintiff to “do as directed by your manager [MACKIE]” and “take Joe [MACKIE] up on
his offer to help you meet your goals which, as you informed me today, are not where
they should be.”

ANDREWS’ email clearly demonstrated that Defendants did not take Plaintiff"s reports
seriously.

On or around April 22, 2016, ANDREWS stated to Plaintiff in words or substance that
MACKIE “had done nothing wrong” and that he was dismissing Plaintiff’ s complaint.
On or around May 5, 2016, Respondent issued Plaintiff three disciplinary actions: an
informal warning for punctuality, a Final Notice for Workplace Conduct (regarding an
alleged incident with a customer on or around February 25), and another PIP.
Additionally, around November 2016, Defendant MACKIE began sending Plaintiff
emails alleging that Plaintiff was not properly performing her work on various customer
accounts.

Following this latest untrue allegation, Plaintiff once again reported the ongoing
retaliation to Human Resources.

In response to her complaint, Respondents failed to properly acknowledge or investigate
Plaintiff’s report, and instead, Bridget Hotchkiss, Defendants’ human resource
representative told her on one occasion in words or Substance to “mind [Plaintiff" s] own
business and pay attention to your wor ” when she requested an update.

Once again, Respondents demonstrated a clear disregard for Plaintiff"S legitimate reports

of discrimination and retaliation.

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ln or around December 2016, Defendant MACKIE told Plaintiff that they were moving
her desk and placing another worker, named Shakiea into Plaintiff"s work space.

In or around March 2017, Plaintiff qualified to receive her Series 6 and Series 63
securities licenses and completed training to perform “Medallion Signature Guarantees”
for Defendants.

The Series 6 and Series 63 securities licenses would have duly qualified Plaintiff for an
increase in income.

Despite Plaintiff’s training and qualifications, MACKIE refused to discuss the licensing
with Plaintiff, thereby preventing Plaintiff from receiving additional income and
responsibilities

Around the same time, MACKIE allowed Plaintiff"s co-worker HEWITT to receive the
same licenses.

MACKIE’s refusal to allow Plaintiff the same opportunities for advancement with
Defendants that similarly situated co-workers received constituted further retaliation for
Plaintiff’ s complaints.

On or around March 20, 2017, Defendants sent Plaintiff an email. In words and
Substance the email requested that Plaintiff consider relocating to another bank branch.
Plaintiff was the only employee at her branch who was requested to relocate.

Plaintiff was not interested in relocating as it would cause her a hardship in traveling to
work. Currently, Plaintiff is able to take the train directly to the branch where she is
employed. Now, Plaintiff would have to drive since the two possible branch

destinations were Germantown or Adams Avenue.

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Again Defendants singled Plaintiff out and put pressure on her to relocate to another
branch in retaliation for Plaintiff’s ongoing complaints of discrimination and harassment
As a result of Defendants’ conduct, Plaintiff was caused to sustain serious and permanent

psychological injuries.

. Plaintiff suffers from regular panic attacks and nightmares relating to Defendants’

conduct Plaintiff has difficulty sleeping and eating.

As a result of Defendants’ actions, Plaintiff has been caused to feel extremely humiliated,
degraded, victimized, embarrassed, and emotionally distressed.

As a result of the acts and conduct complained of herein, Plaintiff has Suffered and will
continue to suffer the loss of income, the loss of salary, bonuses, benefits, and other
compensation which such employment entails, and Plaintiff has also suffered future
pecuniary losses, emotional pain, humiliation, suffering, inconvenience, loss of
enjoyment of life, and other non-pecuniary losses. Plaintiff has further experienced
severe emotional and physical distress.

As a result of the above, Plaintiff has been damaged in an amount in excess of the
jurisdictional limit of all lower courts.

Defendants’ conduct has been malicious, willful and/or outrageous, and conducted with
full knowledge of and reckless indifference of the law. As such, Plaintiff demands
punitive damages against all Defendants, jointly and severally.

The above are just some of the examples of discrimination and retaliation to which
Defendants subjected Plaintiff,

Defendants have established a pattern and practice of not only discrimination, but also

retaliation.

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AS A FIRST CAUSE OF ACTION FOR DISCRIMINATION
UNDER THE AMERICANS WITH DISABILITIES ACT
(Not Against Individual Defendants)

Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

this Complaint.

. Title 42 of the Americans with Disabilities Act of 1990 (Pub. L. 101-336), Chapter 126,

Subchapter I, § 12112, Discrimination [Section 102] states: “(a) General ru1e. - No
covered entity shall discriminate against a qualified individual on the basis of disability in
regard to job application procedures, the hiring, advancement, or discharge of employees,
employee compensation, job training, and other terms, conditions, and privileges of
employment.”
Defendants engaged in an unlawful discriminatory practice by discriminating against
Plaintiff ELLIS because of her and her son’s disabilities
As such, Plaintiff ELLIS has been damaged as set forth herein,
AS A SECOND CAUSE OF ACTION FOR RETALIATION
UNDER THE AMERICANS WITH DISABILITIES ACT

(Not Against Ir_ldivid\_lal Defer_ldants)
Plaintiff repeats and realleges each and every allegation made in the above paragraphs of
this Complaint.
Title 42 of the Americans with Disabilities Act of 1990 (Pub. L. 101-336), Chapter 126,
Subchapter IV, § 12203, states: “(a) Retaliation: No person shall discriminate against any
individual because such individual has opposed any act or practice made unlawful by this

chapter or because such individual made a charge, testified, assisted, or participated in

any manner in an investigation, proceeding, or hearing under this chapter.”

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Defendants engaged in an unlawful discriminatory practice by discriminating against and
retaliating against Plaintiff ELLIS because of Plaintiff ELLIS’ opposition to Defendants’
unlawful employment practices.
As such, Plaintiff ELLIS has been damaged as set forth herein.

AS A THIRD CAUSE OF ACTION

FOR RETALIATION AND INTERFERENCE
UNDER THE FAMILY AND MEDICAL LEAVE ACT

Plaintiff repeats and realleges each and every allegation made in the above paragraphs of
this Complaint.
Title 29 of the Family and Medical Leave Act of 1993, Chapter 28, Subchapter I, § 2615
states as follows: “Prohibited Acts: (a) Interference with Rights (1) Exercise of Rights: It
shall be unlawful for any employer to interfere with, restrain, or deny the exercise of or
the attempt to exercise and right provided under this subchapter. (2) Discrimination: It
shall be unlawful for any employer to discharge or in any other manner discriminate
against any individual for opposing any practice made unlawful by this subchapter.”
Defendants interfered with Plaintiff ELLIS’ rights under the above section and
discriminated against Plaintiff ELLIS for opposing Defendants’ unlawful employment
practice and exercising her rights.

AS A FOURTH CAUSE OF ACTION
FOR DISCRIMINATION UNDER STATE LAW

Plaintiff repeats and realleges each and every allegation made in the above paragraphs of
this Complaint.

The Pennsylvania Human Relations Act (“PHRA”) § 955 provides that it shall be an
unlawful employment practice: “(a) For any employer because of the race, color,

religious creed, ancestry, age, sex, national origin or non-job related handicap or

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disability or the use of a guide or support animal because of the blindness, deafness or
physical handicap of any individual or independent contractor, to refuse to hire or employ
or contract with, or to bar or to discharge from employment such individual or
independent contractor, or to otherwise discriminate against such individual or
independent contractor with respect to compensation, hire, tenure, terms, conditions or
privileges or employment or contract, if the individual or independent contractor is the
best able and most competent to perform the services required.”

Defendants engaged in unlawful employment practices prohibited by PHRA § 955 et seq.,
by discriminating against Plaintiff ELLIS because of her disabilities

Plaintiff ELLIS hereby makes a claim against Defendants under all the applicable
paragraphs of PHRA § 955 .

AS A FIFTH CAUSE OF ACTION
FOR RETALIATION UNDER STATE LAW

Plaintiff repeats and realleges each and every allegation made in the above paragraphs of
this Complaint.

The PHRA § 955 (d) provides that it shall be an unlawful discriminatory practice: “For
any person, employer, employment agency, or labor organization to discriminate in any
manner against any individual because such individual has opposed any practice
forbidden by this act, or because such individual has made a charge, testified or assisted,
in any manner, in any investigation , proceeding, or hearing under this act.”

Defendants engaged in an unlawful discriminatory practice by retaliating and otherwise
discriminating against Plaintiff ELLIS because of Plaintiff ELLIS’ opposition to

Defendants’ unlawful employment practices

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AS A SIXTH CAUSE OF ACTION
FOR AIDING AND ABETTING UNDER STATE LAW

98. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of
this Complaint.

99. The PHRA § 955 (e) provides that it shall be an unlawful employment practice “For any
person, employer, employment agency, labor organization or employee, to aid, abet,
incite, compel, or coerce the doing of any act declared by this section to be an unlawful
discriminatory practice, or to obstruct or prevent any person from complying with the
provisions of this act or any order issued thereunder, or to attempt, directly or indirectly,
to commit any act declared by this section to be an unlawful discriminatory practice.”

100. Defendants engaged in an unlawful discriminatory practice in violation of PHRA

§ 955(e) by aiding, abetting, inciting, compelling, and coercing the discriminatory

 

 

 

conduct
AS A SEVENTH CAUSE OF ACTION
FOR DISCRIMINATION UNDER THE PHILADELPHIA
CITY ADMINISTRATIVE ORDINANCE
101. Plaintiff repeats and realleges each and every allegation made in the above

paragraphs of this Complaint.

102. The Philadelphia Fair Practices Ordinance § 9-1103(1) provides that “It shall be
an unlawful employment practice to deny or interfere with the employment opportunities
of an individual based upon his or her race, ethnicity, color, sex (including pregnancy,
childbirth, or a related medical condition), sexual orientation, gender identity, religion,
national origin, ancestry, age, disability, marital status, familial status, genetic
information, or domestic or sexual violence victim status, including, but not limited to,

the following: (a) For any employer to refuse to hire, discharge, or otherwise discriminate

